    Case: 1:16-cv-02622 Document #: 21 Filed: 05/02/16 Page 1 of 2 PageID #:236




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MATTHEW KAUFRINDER and CONNIE                      )
KAUFRINDER, by her son and next                    )
friend, MATTHEW KAUFRINDER,                        )
on behalf of plaintiffs and a class,               )       Case No. 16-cv-2622
                                                   )
                      Plaintiffs,                  )       Judge Bucklo
                                                   )       Magistrate Judge Schenkier
              vs.                                  )
                                                   )
ANSELMO LINDBERG OLIVER LLC,                       )
                                                   )
                      Defendant.                   )

         NOTICE OF PLAINTIFFS’ AGREEMENT TO STAY PROCEEDINGS

       Plaintiffs hereby inform the Court that the plaintiffs do not oppose defendant’s Motion to

Stay Pending Appeal, filed on April 27, 2016 (Dkt. 19).

                                                    Respectfully Submitted,

                                                    s/Michelle A. Alyea
                                                    Michelle A. Alyea

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                                CERTIFICATE OF SERVICE

        I, Michelle A. Alyea, certify that on May 2, 2016, I caused a true and accurate copy of the
foregoing document to be filed via CM/ECF system, which will send notification of such filing to
the following parties:

David M Schultz - dschultz@hinshawlaw.com
Justin M Penn - jpenn@hinshawlaw.com


                                                     s/Michelle A. Alyea
                                                     Michelle A. Alyea
